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 3
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 4   Telephone: (916) 422-4022
     Attorneys for Florence Francisco
 5
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                 )   Case No.: 2:13-cr-00103-MCE
               Plaintiff,                      )
10                                             )
          v.
                                               )   STIPULATION AND ORDER FOR
11                                             )   CONTINUANCE OF JUDGMENT AND
     Florence Francisco,                       )   SENTENCING
12                                             )
                  Defendant.                   )
13                                             )
                                               )
14
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for February 11, 2016, at 9:00 a.m. is continued to
18   May 5, 2016, at 9:00 a.m. in the same courtroom. Probation has also been informed of
19   the continuance request. Defendant needs additional time to prepare for sentencing and
20   requested a continuance.
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
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 1   Todd Pickles, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s
 2   attorney, agree to this continuance.
 3
 4   IT IS SO STIPULATED.
 5
     DATED: February 2, 2016                       By:   /s/ Thomas A. Johnson
 6                                                       THOMAS A. JOHNSON
                                                         Attorney for Florence Francisco
 7
 8
 9
10   DATED: February 2, 2016                             BENJAMIN B. WAGNER
                                                         United States Attorney
11
                                                   By:   /s/ Thomas A. Johnson for
12                                                       TODD PICKLES
                                                         Assistant United States Attorney
13
            IT IS SO ORDERED.
14
15   Dated: February 10, 2016
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              Case 2:13-cr-00103-KJM Document 261 Filed 02/11/16 Page 3 of 3



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 3
 4                           IN THE UNITED STATES DISTRICT COURT
 5                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-00103-MCE
 7             Plaintiff,                           )
          v.                                        )
 8                                                  )   MODIFICATION OF SCHEDULE FOR
     FLORENCE FRANCISCO,                            )   PRE-SENTENCE REPORT AND FOR
 9                                                  )   FILING OF OBJECTIONS TO THE PRE-
              Defendant.                                SENTENCE REPORT
10                                                  )
                                                    )
11                                                  )
                                                    )
12
13   Judgment and Sentencing date:                             May 5, 2016
14
15   Reply or Statement                                        April 28, 2016
16   Motion for Correction of the Pre-Sentence
17   Report shall be filed with the court and                  April 21, 2016
     served on the Probation Officer and opposing
18   counsel no later than:
19   The Pre-Sentence Report shall be filed with
20   the court and disclosed to counsel no later               April 14, 2016    __
     than:
21
     Counsel’s written objections to the Pre-
22
     Sentence Report shall be delivered to the                 March 31, 2016
23   Probation Officer and opposing counsel
     no later than:
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